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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                  DUBLIN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
             v.                            )           CR 315-013
                                           )
TONYA MICHELLE TYSON                       )
                                       _________

                                       ORDER
                                       _________

      In response to the Court’s March 23, 2016 Order, Defendant Tonya Michelle Tyson

notified the Court she is withdrawing her motion for severance filed on January 24, 2016.

(See doc. no. 220.)   Accordingly, the Court DIRECTS the CLERK to terminate the

severance motion from the motions report. (Doc. no. 147.)

      SO ORDERED this 1st day of April, 2016, at Augusta, Georgia.
